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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


MAGNOLIA FLEET, LLC, AND                           CIVIL ACTION NO:
MAGNOLIA MIDSTREAM, LLC
                                                   SECTION “”
Plaintiffs                                         Judge :

                                                   DIVISION
VERSUS                                             Judge:

                                                   Rule 9(h) – Admiralty
GRIFFIN BARGE LINE, LLC,

Defendant


                                   VERIFIED COMPLAINT

       COMES NOW, Plaintiffs MAGNOLIA FLEET, LLC (“Magnolia Fleet”), and

MAGNOLIA MIDSTREAM, LLC (“Magnolia Midstream” and together with Magnolia Fleet

“Plaintiffs”) by and through undersigned counsel to hereby file its claim against Defendant

GRIFFIN BARGE LINE, LLC (“Griffin” or “Owner”) as follows:

                          PARTIES, JURISDICTION AND VENUE

1.     This is an admiralty and maritime action within the meaning of Rule 9(h) of the Federal

Rules of Civil Procedure and this Court has jurisdiction pursuant to 28 U.S.C. §1333.

2.     This is an action brought procedurally under Admiralty Supplemental Rule B for the

specific purpose of securing jurisdiction and security by way of attachment for the Defendant’s

breach of a maritime contract by serving and attaching Owner’s property that is present within this

District as the Owner cannot be found within this District.

3.     Magnolia Fleet, LLC is a limited liability company organized under the laws of the State

of Louisiana with an office at 3000 Ridgelake Drive, Metairie, LA 70002.
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4.        Magnolia Midstream, LLC is a limited liability company organized under the laws of the

State of Louisiana with an office at 3000 Ridgelake Drive, Metairie, LA 70002.

5.        Defendant Griffin is a limited liability company organized under the laws of the State of

Texas with its principal place of business at 4501 Elm Street, Bellaire, TX 77401.

6.        Defendant Griffin is not registered to do business in the State of Louisiana and does not

have a registered agent for service of process in the State of Louisiana.

7.        Griffin is the registered record owner of a fleet of vessels, including the GRIFFIN 1L,

USCG No. 1267926, a tank barge registered in the United States and documented with the United

States Coast Guard and the GRIFFIN 2T, USCG No. 1267928 a tank barge registered in the United

States and documented with the United States Coast Guard.

8.        The GRIFFIN 1L and the GRIFFIN 2T can be found within this District, but its Owner

cannot.

9.        Magnolia Fleet provides towing and fleeting services.

10.       Magnolia Midstream provides fuel oil to vessels.

11.       As will be further stated herein, Magnolia Midstream entered into a maritime contract with

the Defendant for the supply of fuel oil and lubricants to a towing vessel chartered by Griffin and

to the GRIFFIN 1L and the GRIFFIN 2T, which remains unpaid. Magnolia Fleet entered into a

maritime contract with Griffin where Griffin chartered a towing vessel from Magnolia Fleet to tow

Griffin’s barges and contracted for Magnolia Fleet to provide fleeting services.

12.       This is an action praying for immediate process to attach and serve the in personam

Defendant’s tangible property under Supplemental Rule B of Admiralty, to wit: the property of

the Defendant, the GRIFFIN 1L and the GRIFFIN 2T (the “Vessels”), because the Defendant

cannot be found in the District as the Defendant company is a citizen of another state; the act of



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serving the Vessels under Rule B is to confer jurisdiction on the Court and to obtain security for

the claim.

13.    Venue is proper in this District as property owned by Griffin is located within this District,

which Plaintiffs seek to attach pursuant to Rule B of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil Procedure.

                           GENERAL ALLEGATIONS OF FACT

14.    Defendant Griffin entered into a maritime contract with Magnolia Fleet for Magnolia Fleet

to provide among other things the charter of a tug, the ADELINE, to move the Vessels and for

fleeting services.

15.    Defendant Griffin entered into a maritime contract with Magnolia Midstream for Magnolia

Midstream to provide fuel oil to the tug chartered by Griffin and Griffin’s Vessels.

16.    The maritime contract between Griffin and Magnolia Fleet for the charter of tugs and for

fleeting services is evidenced by the invoices dated July 31, 2018, No. 28392; August 3, 2018, No.

14209; August 3, 2018, No. 14210; August 15, 2018, No. 28426; August 18, 2018, No. 14502;

August 18, 2018, No. 14503; August 18, 2018, No. 14504; August 18, 2018, No. 14505; August

18, 2018, No. 14506; August 18, 2018, No. 14507; August 20, 2018, No. 28411; August 31, 2018,

No. 28438; September 6, 2018, No. 14972; September 6, 2018, No. 14973; September 14, 2018,

No. 15073; September 14, 2018, No. 15074; September 15, 2018, No. 28472; September 25, 2018,

No. 15279; September 25, 2018, No. 15280; September 28, 2018, No. 15393; September 28, 2018,

No. 15394; September 20, 2018, No. 28471; October 11, 2018, No. 15607; October 11, 2018, No.

15608; October 15, 2018, No. 28566; October 31, 2018, No. 28567 attached hereto as in globo

Exhibit “A.”




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17.     Pursuant to the Invoices attached as Exhibit “A,” Griffin had 15 days from the date of the

invoice with which to pay Magnolia Fleet.

18.     As of the date of this Petition, Griffin owes Magnolia Fleet $488,458.96 for the charter of

the ADELINE and fleeting services.

19.     Despite amicable demand, Griffin has failed to pay Magnolia Fleet the amounts that are

due and owing under the invoices attached as Exhibit “A.”

20.     The maritime contract for the sale of fuel oil by Magnolia Midstream to Griffin is

evidenced by the invoices and fuel delivery notes dated August 27, 2018, No. MS3427; August

27, 2018, No. MS3429; August 31, 2018, No. 3655; August 31, 2018, No. 3666; September 3,

2018, No. 3622; September 17, 2018, No. MS2654; September 17, 2018, No. MS2655; September

17, 2018, No. MS2656; September 20, 2018, No. MS3456; September 20, 2018, No. MS3457;

September 21, 2018, No. 3669; September 25, 2018, No. MS3458; October 23, 2018, No.

MS2705; October 23, 2018, No. MS2706, attached hereto as in globo Exhibit “B.”

21.     Pursuant to the invoices attached as Exhibit “B,” Griffin had either 15 or 30 days from the

date of the invoice with which to pay Magnolia Midstream.

22.     Pursuant to the Invoices attached as Exhibit “B”, as of the date of this Petition, Griffin

owes Magnolia Midstream $193,337.49. Despite amicable demand, the invoices remain

outstanding.

23.     Upon information and belief, Griffin intends to end the maritime contracts and remove the

Vessels from this District without payment to Magnolia Fleet for the invoices attached as Exhibit

“A” and without payment to Magnolia Midstream for the invoices attached as Exhibit “B.”

      COUNT I – BREACH OF A MARITIME CONTRACT & RULE B ATTACHMENT

24.     Plaintiff hereby re-alleges and re-avers all allegations at Paragraphs 1-23 above.



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25.       Griffin received the benefit of the charter and fleeting services from Magnolia Fleet,

including the provision of a tug, the ADELINE.

26.       Griffin did not pay for the charter hire for the tug or the fleeting services provided by

Magnolia Fleet.

27.       Magnolia Fleet is damaged in the amount of at least $488,458.96 and this amount continues

to accrue as of the date of this filing.

28.       Griffin did not pay for the fuel oil sold to Griffin and provided for the tug chartered by

Griffin which was sold by Magnolia Midstream.

29.       Magnolia Midstream is damaged in the amount of at least $193,337.49 and this amount

continue to accrue as of the date of this filing.

30.       Upon information and belief, the Vessels owned by Griffin are currently located at the

Magnolia Fleet East Fleet located in New Orleans East, at 7501 Terminal Road, New Orleans,

Louisiana 70126, which is within this district.

31.       Pursuant to Rule B of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions to the Federal Rules of Civil Procedure, Magnolia Fleet and Magnolia

Midstream are entitled to attach all of Griffin’s property within this District, including, but not

limited to the Vessels to satisfy Magnolia Fleet and Magnolia Midstream’s breach of contract

claims.

32.       Despite diligent search, Griffin cannot be located within this District and within the

jurisdiction of this Court, but assets of Griffin, including, but not limited to, the Vessels, are located

within this District and within the jurisdiction of the Court. This property may be attached pursuant

to Rule B of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions to the Federal Rules of Civil Procedure.



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33.      Magnolia Fleet agrees to release and hold harmless and indemnify the United States of

America, the United States Marshal, their agents, servants, employees and all others for whom

they are responsible, from any and all liability or responsibility for claims arising from the

attachment of defendants’ property including, but not limited to, the Vessels.

         WHEREFORE, Plaintiffs, Magnolia Fleet, LLC and Magnolia Midstream pray:

      1. That process in due form of law and according to the rules and practices of this Court in

         matters of admiralty and maritime jurisdiction issue against Defendant, Griffin Barge

         Lines, LLC and the garnishee(s);

      2. That if Griffin Barge Lines, LLC cannot be found within this District, as stated in the

         affidavit attached hereto, that all of its property within this District be attached as set forth

         in this Complaint with interest and costs;

      3. That this Court issue an Order directing the Clerk of Court to issue process of maritime

         attachment and garnishment pursuant to Rule B of the Supplemental Rules for Admiralty

         or Maritime Claims and Asset Forfeiture Actions to the Federal Rules of Civil Procedure

         over all of Griffin Barge Lines, LLC’s tangible or intangible property in this district due,

         owing, or otherwise claimed as property of Griffin Barge Lines, LLC, including but not

         limited to the GRIFFIN 2T and the GRFIFFIN 1L;

      4. That this Court retain the attached property pending adjudication of Magnolia Fleet’s

         claims against Griffin Barge Lines, LLC;

      5. That this Court enter Final Judgment against the Defendant for Plaintiffs’ damages, in the

         amount of at least $681,796.45, together with interest and costs.



Dated: October 23, 2018



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                               Respectfully submitted,

                               /s/ Aaron B. Greenbaum
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